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                                     Updates To Prior Disclosures 3


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1-800-Flowers.com, Inc.                     Contract Counterparties   •   1-800-Flowers.com, Inc. is now a
                                                                          former client (closed 2015).

Affiliated Computer Services, Inc.          Contract Counterparties   •   The individual previously disclosed as
                                                                          a current client and employee of
                                                                          Affiliated Computer Services, Inc. is
                                                                          now a former client (closed 2015).

All Nippon Airways Co. Ltd.                 Contract Counterparties   •   All Nippon Airways Co. Ltd. is now a
                                                                          former client (closed 2015); and
                                                                      •   Parent company ANA Holdings Inc. is
                                                                          a new client (opened 2016).

AllianceBernstein, L.P. US                  Bondholders               •   Affiliated entity AllianceBernstein
                                                                          Multi-Manager Alternative Strategies
Alliance Bernstein Bond Fund, Inc. –        Lenders                       Fund is a co-client in a new matter
    AllianceBernstein                                                     (opened 2016);
AllianceBernstein Pooling Portfolios High
    Yield                                                             •   Affiliate company AXA S.A. is a new
AllianceBernstein US High Yield                                           client (opened 2015); and
    Collective Trust                                                  •   Affiliate company Gie AXA is now a
Axa/Mutual Large Cap Equity Managed                                       former client (closed 2016).
    Volatility Portfolio

Allianz GI Income & Growth High Yield       Bondholders               •   Affiliate company AZ-Argos 64
Allianz Global Investors US LLC                                           Vermogensverwaltungsgesellschaft
                                                                          mbH is now a former client
                                                                          (closed 2015); and
                                                                      •   Magnequench International, Inc., an
                                                                          entity of which affiliate company
                                                                          Fireman's Fund Insurance Company is
                                                                          a former shareholder, is now a former
                                                                          client (closed 2015).


    3
        The names of current clients of Jones Day appear in bold and italics. The disclosure of
        stockholder interests or other affiliate relationships among potentially related entities reflects
        only information known to Jones Day through its conflict reporting system. Jones Day has
        not performed independent research to identify all stockholder interests or other affiliate
        relationships with respect to interested parties. Moreover, Jones Day has not disclosed
        representations of trade associations and similar industry or special interest organizations in
        which interested parties are members.
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Alvarez & Marsal Global Forensic and       Professionals             •   Affiliate company Alvarez & Marsal
    Dispute Services LLC                                                 Europe LLP is a new client
                                                                         (opened 2015).

American International Group, Inc. (AIG)   Insurers                  •   Varagon Capital Partners, L.P., in
                                                                         which American International Group,
                                                                         Inc. (AIG) is a partner, is now a
                                                                         former client (closed 2016).

Amundi Alternatives Beach Point            Bondholders               •   Affiliated entity Amundi Absolute
  Distressed Master Fund                                                 Return Canyon Fund Plc, In Respect
Amundi Smith Breeden Asset Management                                    of Amundi Absolute Return is a co-
                                                                         client in a new matter (opened 2016).

Aon Consulting                             Significant Unsecured     •   Affiliate company Accuracy
                                           Creditors                     Netherlands B.V. is a new client
                                                                         (opened 2016); and
Aon Hewitt Consulting                      Contract Counterparties
Hewitt Associates LLC                                                •   Subsequent to Jones Day's prior
                                                                         disclosure, affiliate company Aon Risk
Aon Risk Services                          Insurers                      Services Northeast, Inc. became a
                                                                         current and now former client
                                                                         (closed 2015).

Angelo Gordon & Co., L.P.                  Bondholders               •   Affiliate company and former client
                                           and                           CSI Financial Services LLC
                                                                         (closed 2015) is the employer of an
                                           Lenders
                                                                         individual who is a new client
                                                                         (opened 2015).

APG Asset Management US, Inc.              Bondholders               •   Affiliate companies Stichting
                                           and                           Pensioenfonds UWV and APG Asset
                                           Lenders                       Management N.V. are now former
                                                                         clients (both closed 2016).
Stichting Depository APG Fixed Income      Bondholders
    Credit Pool
Stihting Pensioenfonds Hoogovens-1
Stichting Pensioenfonds Voor
    Fysiotherapeuten
Stichting Pensioenfonds Voor
    Fysiotherapeuten-1

Apollo Capital Management, L.P.            Lenders                   •   Apollo Global Management LLC is
                                                                         the new parent company of current
Apollo Global Management LLC               Lenders                       client Vectra, Inc. (f/k/a OM Group,
                                           and                           Inc.).
                                           Bondholders



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Ares Management LLC                     Bondholders                 •   Ares Management LLC is: (a) a co-
                                        and                             client in a new matter (opened 2015);
                                        Lenders                         and (b) a 50% joint venture owner of
                                                                        new client Minerva Limited (opened
                                                                        2016); and
                                                                    •   Affiliate company Area Property
                                                                        Partners, L.P. is now a former client
                                                                        (closed 2015).

Aristeia Capital LLC                    Rule 2019 Parties           •   Aristeia Capital LLC is: (a) a co-client
                                                                        in a new matter (opened 2016); (b) a
Aristeia Master, L.P.                   Lenders                         current or former significant equity
Aristeia Reflection Fund                                                holder of former client Molycorp, Inc.;
                                                                        and (c) a former co-client in a new
                                                                        matter that was concluded in 2015.

AT&T, Inc.                              Utilities                   •   AT&T, Inc. is the new parent
AT&T Canada                                                             company of current client The
AT&T Data                                                               DirecTV Group, Inc.
AT&T Midwest
AT&T Opus                                                           •   See also Exhibit B entry for DirecTV
AT&T Southeast                                                          regarding related disclosure.
AT&T Southwest
AT&T U-Verse
AT&T West
AT&T Wireless

AT&T Corporation                        Contract Counterparties
AT&T Global Information Solutions Co.
AT&T Mobility National Accounts LLC

Balenciaga America, Inc.                Rule 2002 Parties           •   Affiliate company Gucci Luxembourg
Gucci America, Inc.                                                     S.A. is now a former client
Gucci Group Watches, Inc.                                               (closed 2015).
Sergio Rossi USA, Inc.

Baluma, S.A.                            Subsidiaries and            •   Baluma, S.A. is now a former client
                                        Affiliates of the Debtors       (closed 2015).

Bank of China Limited                   Lenders                     •   Affiliate companies Bank of China
BOC Pension Investment Fund                                             Limited, London Branch, Bank of
                                                                        China Limited Guangdong Branch and
                                                                        BOC International Holdings Ltd. are
                                                                        now former clients (all closed 2015).

The Bank of New York Mellon             Bondholders                 •   Affiliate companies The Bank of New
    Corporation                                                         York Mellon Hong Kong Branch,
The Bank of New York Mellon/Mellon

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    Trust of New England, N.A.                                             The Bank of New York Mellon, Seoul
The Bank of New York Mellon/Mid Cap                                        Branch, The Bank of New York
    SPDRS                                                                  Mellon, London Branch, The Bank
                                                                           of New York Mellon (Luxembourg)
The Bank of New York Mellon Trust            Letters of Credit             S.A. and BNY Mellon Corporate
                                                                           Trustee Services Limited are co-
                                                                           clients in a new matter (opened 2015)
                                                                           with current client DBS Bank (Hong
                                                                           Kong) Limited.

Barclays Bank Plc                            Bondholders               •   Affiliated entity Grand Central Asset
                                             and                           Trust WAM Series is a co-client a new
                                             Lenders                       matter (opened 2015).

Barclays Bank of Delaware                    Contract Counterparties

Barclays Bank Plc Firm                       Bondholders
Barclays Capital, Inc.
Barclays Capital, Inc./LE

BBVA Compass Bank (Asset Management)         Bondholders               •   In its prior disclosure, Jones Day
                                                                           inadvertently did not include that
Compass ESMA, L.P.                           Lenders
Compass Offshore HTV PCC, Ltd.                                             affiliate companies Casa de Bolsa
Compass TSMA, L.P.                                                         BBVA Bancomer and Banco Bilbao
                                                                           Vizcaya Argentaria Chile S.A. are
                                                                           former clients (both closed 2014).

Beach Point Capital Management, L.P.         Bondholders               •   Beach Point Capital Management,
Beach Point Distressed Master Fund, L.P.                                   L.P. is a client in a new matter
Beach Point Loan Master Fund, L.P.                                         (opened 2015).
Beach Point Strategic Master Fund, L.P.
Beach Point SCF Multiport, L.P.

Beach Point Multi-Asset Credit Fund, Ltd.    Bondholders
Beach Point SCF I, L.P.                      and
Beach Point SCF IV LLC                       Lenders
Beach Point Select Master Fund, L.P.
Beach Point Total Return Master Fund, L.P.



Benefit Street Partners LLC                  Bondholders               •   Benefit Street Partners LLC is a co-
                                                                           client in a new matter (opened 2016).




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Berkshire (name given)                     Insurers          •   Affiliate companies HomeServices of
National Fire & Marine Insurance Company                         America, Inc. (a/k/a Berkshire
United States Aircraft Insurance Group                           Hathaway HomeServices California
                                                                 Properties) and Affordable Housing
                                                                 Partners, Inc. are new clients
                                                                 (both opened 2016); and
                                                             •   The joint representation of affiliate
                                                                 company Mid-American Energy and
                                                                 Missouri Gas Energy, a division of
                                                                 Laclede Gas Company, et al. was
                                                                 concluded in 2015.
                                                             •   See also Exhibit B entry for Cort
                                                                 Business Services regarding related
                                                                 disclosure.

Birch Telecom                              Utilities         •   Affiliate company Birch Telecom
                                                                 1996, Inc. is now a former client
                                                                 (closed 2015); and
                                                             •   In its prior disclosure Jones Day
                                                                 inadvertently did not include affiliate
                                                                 company and current client Birch
                                                                 Telecom of Texas Ltd., LLP .




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Blackrock Advisors LLC                       Bondholders      •   Affiliate companies Blackrock Fund
                                                                  Advisors and Blackrock Institutional
Blackrock Financial Management               Bondholders          Trust Company, N.A. are equity
                                             and                  holders of new client Peabody Energy
                                             Lenders              Corporation (opened 2015).

Blackrock Corporate High Yield Fund, Inc.    Lenders
Blackrock Credit One Fund
Blackrock Debt Strategies Fund, Inc.
Blackrock Defined Opportunity Credit
    Trust
Blackrock Fixed Income Portable Alpha
    Master Series Trust
Blackrock Floating Rate Income Strategies
    Fund, Inc.
Blackrock Floating Rate Income Trust
Blackrock Funds II Blackrock Floating Rate
    Income Portfolio
Blackrock Funds II Black Multi-Asset
    Income Portfolio
Blackrock Funds II High Yield Bond
    Portfolio
Blackrock Global Investment Series Income
    Strategies Portfolio
Blackrock Global Long/Short Credit Fund
    of Blackrock Funds
Blackrock High Yield Portfolio of the
    Blackrock Series Fund, Inc.
Blackrock High Yield V I Fund of
    Blackrock Variable Series Fund, Inc.
Blackrock Limited Duration Income Trust
Blackrock Secured Credit Portfolio of
    Blackrock Funds II
Blackrock Senior Floating Rate Portfolio
Blackrock Short Duration High Income
    Fund

Blackstone GSO                               Bondholders      •   Affiliate company Blackstone Real
                                                                  Estate Special Situations Advisors
Blackstone/GSO Capital                       Bondholders          LLC is a co-client in a new matter
                                             and                  (opened 2016) with current client
                                             Lenders              Wells Fargo Bank, N.A.; and

Blackstone/GSO Senior Floating Rate Term     Lenders          •   Affiliate company Mivisa Envases,
    Fund                                                          S.A. is now a former client
Blackstone/GSO Senior Loan Portfolio                              (closed 2015).
Blackstone/GSO Strategic Credit Fund



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Blue Cross of Idaho Health Services, Inc.   Lenders                   •   Blue Cross of Idaho Health Services,
                                                                          Inc. is a new client (opened 2016); and
Horizon Blue Cross Blue Shield              Other Creditors
Horizon Blue Cross Blue Shield of New       and                       •   Affiliated entity Board of Directors of
    Jersey                                  Contract Counterparties       Blue Cross Blue Shield of Florida, Inc.
                                                                          is now a former client (closed 2016).


Blue Mountain                               Bondholders               •   BlueMountain Capital Management
                                                                          LLC is: (a) now a former client
BlueMountain Capital Management LLC         Member of Ad Hoc              (closed 2016); and (b) a former co-
                                            Creditors' Committee          client in the joint representation of MF
                                            Lenders                       Global lenders that was concluded in
                                            and                           2015.
                                            Bondholders
BlueMountain CLO 2011-1 Ltd.                Lenders
BlueMountain CLO 2012-1 Ltd.
BlueMountain CLO 2012-2 Ltd.
BlueMountain CLO 2013-1 Ltd.
BlueMountain CLO 2013-2 Ltd.
BlueMountain CLO 2013-3 Ltd.
BlueMountain CLO 2013-4 Ltd.
BlueMountain CLO 2014-1 Ltd.
BlueMountain CLO 2014-2 Ltd.
BlueMountain CLO 201403 Ltd.

BMO Asset Management, Inc.                  Bondholders               •   BMO Harris Bank, N.A. is a new
BMO Harris Bank, N.A./Trust                                               client (opened 2016).
BMO Nesbitt Burns, Inc.

BMO (Bank of Montreal)                      Lenders
BMO Harris Bank, N.A.




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BNP Paribas                             Bondholders       •   The matter in which current clients
BNP Paribas Prime Brokerage, Inc.                             BNP Paribas and Intesa San Paolo
BNP Paribas New York Branch/BNP                               were co-clients, concluded in 2016;
   Paribas Prime Brokerage
BNP Paribas New York Branch/Custody                       •   The matter in which affiliate company
   Services                                                   BNP Paribas Hong Kong Branch and
                                                              current client Standard Chartered
                                                              Bank were co-clients, concluded in
                                                              2016;
                                                          •   Subsequent to Jones Day's prior
                                                              disclosure, affiliate company BNP
                                                              Paribas, Italian Branch became a
                                                              current and now former co-client with
                                                              current client Unicredit Bank AG in a
                                                              matter concluded in 2016;
                                                          •   Affiliate company BNP Paribas
                                                              Securities Corporation is: (a) a co-
                                                              client in a new matter (opened 2016)
                                                              with current client JPMorgan Chase
                                                              Bank, N.A.; and (b) a co-client and co-
                                                              defendant in a current matter with
                                                              current clients Chevron Corporation,
                                                              Chevron Nigeria Limited and
                                                              Chevron USA, Inc.;
                                                          •   Affiliate company BNP Paribas Real
                                                              Estate Investment Management
                                                              Luxembourg SA is a new client
                                                              (opened 2016); and
                                                          •   Affiliate company BNP Paribas S.A.,
                                                              Niderlassung Frankfurt is now a
                                                              former client (closed 2016).

Brigade Capital Management, L.P.        Bondholders       •   Brigade Capital Management, L.P.
    (f/k/a Brigade Capital Management                         (f/k/a Brigade Capital Management
    LLC)                                                      LLC) and affiliated entity Brigade
                                                              Leveraged Capital Structures Fund,
                                                              Ltd. are co-clients in a new matter
                                                              (opened 2016); and
                                                          •   The joint representation of term
                                                              lenders, in which affiliated entity and
                                                              current client Brigade Leveraged
                                                              Capital Structures Fund, Ltd. was a
                                                              co-client, concluded in 2015.

CACEIS Bank                             Bondholders       •   Affiliate companies Crédit Agricole-
                                                              Caisse d'Epargne Investor Services SA

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                                                                    (closed 2015) and Le Crédit Lyonnais
Credit Agricole                        Lenders
                                                                    (LCL) (closed 2016) are now former
                                                                    clients; and
                                                                •   Parent company Credit Agricole S.A.
                                                                    is: (a) the ultimate parent company of
                                                                    current client CLSA Limited; and
                                                                    (b) the parent company of CA
                                                                    Consumer Finance, a 50% joint
                                                                    venture owner of FCA Bank S.p.A.,
                                                                    which is the parent company of new
                                                                    client Leasys S.p.A. (opened 2016).

Canada Revenue Agency                  Taxing Authorities       •   Canadian government regulated entity,
                                                                    Public Sector Pension Investment
                                                                    Board, is a 50% joint venture partner
                                                                    in SEGRO European Logistics
                                                                    Partnership S.a.r.l., the ultimate parent
                                                                    company of new client SELP
                                                                    (Germany and Benelux) S.a.r.l.
                                                                    (opened 2016); and
                                                                •   Canadian government regulated entity,
                                                                    Government of Canada Pension Plan
                                                                    Investment Board, is the majority joint
                                                                    venture owner of Goodman China
                                                                    Logistics Holding Limited, a co-client
                                                                    in a new matter (opened 2016) with
                                                                    current client Goodman Limited.

Canyon Capital Advisors LLC            Lenders                  •   The joint representation of term
                                       Significant Litigation       lenders, of which Canyon Capital
                                       Counterparties               Advisors LLC, along with other
                                                                    Canyon entities, were co-clients and
                                       Claimants
                                       and                          members, concluded in 2015;
                                       Bondholders              •   Canyon Partners LLC, along with
                                                                    several of its funds and affiliates, are
Canyon Partners LLC                    Lenders                      co-clients in a new matter (opened
                                       and                          2016); and
                                       Bondholders
                                                                •   McCarthy & Stone Limited, an entity
                                                                    of which affiliate company Canyon
                                                                    Capital Finance S.a.r.l. is a
                                                                    stockholder, is now a former client
                                                                    (closed 2015).

Capital One (name given)               Lenders                  •   Affiliated entity Capital One
                                                                    Community Renewal Fund is now a
                                                                    former client (closed 2015).


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Capital Research and Management             Bondholders              •   Dana Holding Corporation, an entity
   Company                                                               of which Capital Research and
Capital Research and Management Co. (US)                                 Management Company is a
                                                                         stockholder, is now a former client
                                                                         (closed 2015); and
                                                                     •   AMR Corporation, an entity of which
                                                                         affiliate company Capital Research
                                                                         Global Investors is a stockholder, is
                                                                         now a former client (closed 2015).

Caspian Capital, L.P.                       Bondholders              •   Caspian Capital, L.P. is a co-client in
                                            and                          a new matter (opened 2016); and
                                            Significant Litigation   •   Affiliate company Caspian Capital
                                            Counterparties               Partners, L.P. is now a former co-
                                                                         client in the joint representation of MF
                                                                         Global lenders; and a joint
                                                                         representation of term lenders, which
                                                                         were both concluded in 2015.

Caterpillar Inc. Master Retirement Trust    Lenders                  •   Affiliated entity Caterpillar Inc.
                                                                         Pension Master Trust is a current co-
                                                                         client in a new matter (opened 2015).

Catlin Re Switzerland Ltd.                  Lenders                  •   Parent company Catlin Group Limited
                                                                         is now a former client (closed 2015).
Catlin Underwriting Agencies Ltd.

Centerbridge Credit Partners Master, L.P.   Member of Official       •   The joint representation of MF Global
                                            Committee of Second          lenders, in which current client
                                            Priority Noteholders         Centerbridge Partners, L.P. was a co-
                                                                         client, concluded in 2015.
Centerbridge Partners, L.P.                 Bondholders



Centerpoint Energy, Inc.                    Utilities                •   Centerpoint Energy, Inc. and
Centerpoint Energy Arkla                                                 Centerpoint Energy Services, Inc. are
Enable Gas Transmission LLC                 Letters of Credit            now former clients (both closed 2016).
Centerpoint Energy Services, Inc.           and
                                            Utilities

Cerberus                                    Bondholders              •   YP LLC, an entity of which current
                                            and                          client Cerberus Capital Management,
                                            Lenders                      L.P. is the intermediary parent
                                                                         company, is now a former client
                                                                         (closed 2015).


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Cigna Onsite Health                        Contract Counterparties   •   Affiliate company Cigna Life
Connecticut General Life Insurance         Significant Unsecured         Insurance Company of Europe
                                                                         SA/NV is a co-client in a new matter
                                           Creditors
                                                                         (opened 2015) with parent company
                                                                         and current client Cigna Corporation;
                                                                         and
                                                                     •   121 Tasman Apartments LLC, an
                                                                         entity of which affiliate company
                                                                         Cigna Affiliates Realty Investment
                                                                         Group LLC is a stockholder, is now a
                                                                         former client (closed 2015).
                                                                     •   See also Exhibit B entry for Cigna, et
                                                                         al. regarding related disclosure.

Citibank, N.A.                             Bondholders               •   Affiliate companies Citibank
Citibank Global Asset Management           and                           International Plc, Citibank Non-US
Citigroup Alternative Investments (CAI)                                  Branch Matters and Citigroup Private
                                           Lenders
                                                                         Bank (all closed 2015); and Citigroup
Citibank International                     Bondholders                   Global Markets Asia Ltd.
                                                                         (closed 2016) are now former clients;
Citigroup Global Markets, Inc.
Citigroup Global Markets, Inc./Salomon                               •   Affiliated entity Citigroup Pension
    Brothers                                                             Plan is a co-client in a new matter
                                                                         (opened 2016);
Citicorp North America, Inc.               Lenders
                                                                     •   Affiliate company Citibank Korea,
                                                                         Inc. is a co-client in a new matter
                                                                         (opened 2016) with current client
                                                                         Standard Chartered Bank;
                                                                     •   Affiliate company Citicorp
                                                                         International Ltd. is a co-client in a
                                                                         new matter (opened 2015) with current
                                                                         client Standard Chartered Bank;
                                                                     •   Affiliate company Citigroup Global
                                                                         Markets India Private Limited is a co-
                                                                         client in a new matter (opened 2015)
                                                                         with current client JM Financial
                                                                         Institutional Securities Limited;
                                                                     •   Parent company Citigroup, Inc. is:
                                                                         (a) a co-client in a new matter
                                                                         (opened 2015) with affiliate company
                                                                         Citigroup Global Capital Markets
                                                                         Ltd.; (b) a co-client new matter
                                                                         (opened 2015) with affiliate
                                                                         companies Citibank N.A. and
                                                                         Citigroup Global Markets, Inc.;


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                                                         (c) a co-client in a new matter
                                                         (opened 2016)with affiliate company
                                                         Citibank N.A., New York Branch; and
                                                         (d) a former co-client with affiliate
                                                         company and former co-client
                                                         Citigroup Global Markets India
                                                         Private Limited in a matter concluded
                                                         in 2016;
                                                     •   Affiliate company Citigroup Global
                                                         Markets, Inc. is: (a) a co-client in a
                                                         new matter (opened 2015) with current
                                                         clients Bank of America Corporation
                                                         and Merrill Lynch, Pierce Fenner &
                                                         Smith, Inc.; and (b) subsequent to
                                                         Jones Day's prior disclosure, became a
                                                         current and now former co-client with
                                                         current client Credit Suisse in a matter
                                                         concluded in 2015;
                                                     •   The joint representation of MF Global
                                                         lenders, in which parent company and
                                                         client Citigroup, Inc. was a co-client,
                                                         was concluded in 2015; and
                                                     •   Subsequent to Jones Day's prior
                                                         disclosure, affiliate company Citigroup
                                                         Global Markets Ltd. became a current
                                                         and now former co-client with current
                                                         client Intesa SanPaolo in a matter
                                                         concluded in 2016.

Claren Road                       Bondholders        •   Parent company and current client
                                  and                    The Carlyle Group, after a recent
                                  Lenders                recapitalization, is a minority
                                                         stockholder of former client JMC Steel
                                                         Group (closed 2015);
                                                     •   Affiliate company Carlyle Investment
                                                         Management Global LLC is a new
                                                         client (opened 2015);
                                                     •   Affiliate company Carlyle Investment
                                                         Management LLC is co-client in a
                                                         new unrelated matter
                                                         (both opened 2016); and
                                                     •   Affiliate company Carlyle Europe
                                                         Partners III, L.P. is the parent
                                                         company of now former client Puccini
                                                         Holding GmbH (closed 2016).


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Commonwealth of Pennsylvania Treasury     Lenders                   •   State governed entity Pittsburgh
   Department                                                           Intergovernmental Cooperation
                                                                        Authority is now a former client
Pennsylvania Commonwealth Bureau of       Taxing Authorities            (closed 2016); and
   Business Trust Fund Taxes
                                                                    •   An individual member of the Board of
Pennsylvania Gaming Control Board         Regulatory Authorities        Directors of The Pennsylvania State
Pennsylvania Lottery                                                    University is a current client.
Pennsylvania Racing Commission

Contrarian Capital Management LLC         Bondholders               •   Contrarian Capital Management LLC
                                          Lenders                       is now a former co-client in a joint
                                          and                           representation that was concluded in
                                                                        2015.
                                          Significant Litigation
                                          Counterparties
Contrarian Funds LLC                      Lenders

Cox Communications, Inc.                  Contract Counterparties   •   Affiliate companies Cox Media
                                          and                           Group, Inc. and Cox Automotive, Inc.
                                          Utilities                     are new clients (both opened 2015).
                                                                    •   See also entry below for affiliate
                                                                        company Hospitality Network LLC
                                                                        regarding related disclosure.

Credit Suisse                             Bondholders               •   Affiliate companies Credit Suisse
                                          Lenders                       Syndicated Loan Fund and Credit
                                          and                           Suisse Asset Management LLC are
                                                                        co-clients in a new defense group
                                          Letters of Credit             representation of General Motors term
                                                                        lenders (opened 2015);
Credit Suisse AG                          Contract Counterparties
                                          and                       •   Affiliate company Credit Suisse
                                                                        (Singapore) Limited is a former co-
                                          Lenders                       client with Credit Suisse in a matter
                                                                        concluded in 2015; and
Credit Suisse AG, Cayman Islands Branch   Agents and Indenture
                                          Trustees                  •   Credit Suisse Securities USA LLC is a
                                          Bondholders                   former co-client with current client
                                                                        Citigroup, Inc. in a matter concluded
                                          Contract Counterparties
                                                                        in 2015.
                                          and
                                          Lenders

Credit Suisse Securities USA LLC          Bondholders
                                          and
                                          Contract Counterparties



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Credit Suisse 3rd Party                       Bondholders
Credit Suisse Asset Management LLC            and
                                              Lenders
Credit Suisse Securities Europe Ltd.          Bondholders
Credit Suisse Loan Funding                    Lenders

Crescent Capital Group                        Bondholders       •   Affiliate company Crescent Capital
Crescent Capital Group, L.P.                  and                   LLC is a co-client in a new matter
                                              Lenders               (opened 2015).

CVC Credit Partners LLC                       Bondholders       •   CVC Credit Partners LLC is now a
                                              and                   former co-client in a joint
                                              Lenders               representation of term lenders that was
                                                                    concluded in 2015; and
CVC Global Credit Opportunities Master        Lenders           •   Cunningham Lindsey Iberia S.L., an
  Fund, L.P.                                                        entity of which affiliate company CVC
                                                                    Capital Partners is the majority owner,
                                                                    is now a former client (closed 2015).

D. E. Shaw & Co., L.P.                        Bondholders       •   Affiliate company D.E. Shaw
                                                                    Composite Portfolios LLC is now a
                                                                    former client (closed 2016); and
                                                                •   D. E. Shaw & Co., L.P. and affiliate
                                                                    company D. E. Shaw Galvanic
                                                                    Portfolios LLC are co-clients in a new
                                                                    unrelated matter (opened 2016).

Dai-Ichi Kangyo Bank Darby Creek LLC          Lenders           •   Affiliate company Mizuho Bank
Mizuho (name given)                                                 México, S.A. is a new client
                                                                    (opened 2016).

Davidson Kempner Partners                     Bondholders       •   Affiliate company and current client
                                              and                   Davidson Kempner Capital
                                              Lenders               Management, L.P. is: (a) a co-client
                                                                    in a new unrelated matter (opened
                                                                    2016); (b) a former co-client in the
                                                                    joint representation of MF Global
                                                                    lenders that was concluded in 2015;
                                                                    and (c) a co-client in a new matter
                                                                    (opened 2015) with affiliate company
                                                                    and co-client Davidson Kempner Asia
                                                                    Limited.

Desert Palace, Inc. (d/b/a Caesar's Palace)   Debtors           •   Desert Palace, Inc. (d/b/a Caesar's
                                                                    Palace) is now a former client


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                                                                        (closed 2015).

Deutsche Bank AG, New York Branch         Agents and Indenture      •   Deutsche Bank AG is (a)a co-client in
                                          Trustees                      a new matter (opened 2016) with
                                          and                           current client Goldman Sachs
                                          Contract Counterparties       International; and (b) a former co-
                                                                        client in the joint representation of MF
                                                                        Global lenders that was concluded in
Deutsche Bank AG                          Bondholders
Deutsche Bank Asset Management/Scudder                                  2015;
Deutsche Bank (London Branch)                                       •   Affiliate company Deutsche Equities
Deutsche Bank Securities – Fixed Income                                 India Private Limited is a co-client in
   Stock Loan                                                           a new matter (opened 2015) with
Deutsche Bank and Trust Co. of America                                  current client JM Financial
                                                                        Institutional Securities Limited;
Deutsche Bank Securities, Inc.            Bondholders
                                                                    •   Affiliate companies Deutsche Bank
                                          and                           (Cayman) Limited, Deutsche Bank
                                          Contract Counterparties       AG, Hong Kong Branch and
                                                                        Deutsche Bank AG Seoul Branch are
Deutsche Bank Securities LLC              Contract Counterparties       co-clients in a new joint representation
Deutsche Bank Trust Co. Americas                                        (opened 2015) with current client
                                                                        Standard Chartered Bank;
                                                                    •   Subsequent to Jones Day's prior
                                                                        disclosure, affiliate company Deutsche
                                                                        Equities India Private Limited was a
                                                                        current and now former co-client with
                                                                        current client SBI Capital Markets
                                                                        Limited in a matter concluded in 2016;
                                                                        and
                                                                    •   Subsequent to Jones Day's prior
                                                                        disclosure, affiliate company and
                                                                        current client Deutsche Bank
                                                                        Securities, Inc. was a current and now
                                                                        former co-client with current client
                                                                        Credit Suisse in a matter concluded in
                                                                        2015.

Direct Energy Business                    Utilities                 •   Affiliate companies Direct Energy,
                                                                        L.P. and Direct Energy Marketing
                                                                        Limited are new clients
                                                                        (both opened 2016).




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Dominion East Ohio                           Utilities                 •   Dominion East Ohio and affiliate
                                                                           company Dominion Nuclear
                                                                           Connecticut, Inc. are now former
                                                                           clients (both closed 2015).

Drawbridge Special Opportunities Advisors    Rule 2019 Parties         •   Parent company Fortress Investment
   LLC                                                                     Group LLC is a co-client in a two new
                                                                           matters (opened 2016);
                                                                       •   In its prior disclosure, Jones Day
                                                                           inadvertently did not include affiliate
                                                                           company Fortress Credit Corporation,
                                                                           which is now a former client
                                                                           (closed 2016); and
                                                                       •   Affiliate company Maternity Centers
                                                                           of America LLC is now a former
                                                                           client (closed 2015).

Eastern Fish Company                         Contract Counterparties   •   Affiliate company Gavilon Holdings
                                                                           LLC is now a former client
                                                                           (closed 2016).

Eaton Vance Management, Inc.                 Bondholders               •   Eaton Vance Management, Inc. is:
                                             and                           (a) a co-client in a joint representation
                                             Lenders                       in a new matter (opened 2016); and (b)
                                                                           a co-client, along with Eaton Vance
                                                                           Floating Rate Income Trust, Eaton
Eaton Vance Floating Rate Income Trust       Lenders
Eaton Vance Institutional Senior Loan Fund                                 Vance Limited Duration Income
Eaton Vance International (Cayman Islands)                                 Fund, Eaton Vance Senior Floating
                                                                           Rate Trust, Eaton Vance Senior
    Floating-Rate Income Portfolio
                                                                           Income Trust, Eaton Vance Short
Eaton Vance Limited Duration Income
    Fund                                                                   Duration Diversified Income Fund
                                                                           and several other Eaton Vance funds
Eaton Vance Senior Floating Rate Trust
                                                                           and affiliated entities in a new new
Eaton Vance Senior Income Trust
                                                                           joint representation (opened 2015).
Eaton Vance Short Duration Diversified
    Income Fund
EuroHypo AG New York Branch                  Contract Counterparties   •   Ultimate parent company
                                                                           Commerzbank AG and affiliate
                                                                           company Commerzbank AG, London
                                                                           Branch are now former clients
                                                                           (both closed 2016).

Evercore Partners LLC                        Other Potential Parties   •   Subsequent to Jones Day's prior
                                                                           disclosure, affiliate company Evercore
                                                                           Partners, Inc. became a current and
                                                                           now former client (closed 2015); and



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                                                                          •   Davis Petroleum Acquisition
                                                                              Corporation, an entity of which
                                                                              affiliate companies Evercore Capital
                                                                              Partners II, L.P. and Evercore Co-
                                                                              Investment Partners II, L.P. are
                                                                              stockholders, is now a former client
                                                                              (closed 2015).

Expedia Travel                                  Contract Counterparties   •   Affiliate company Cruiseshipcenters
                                                                              USA, Inc. (d/b/a Expedia
                                                                              Cruiseshipcenters) is now a former
                                                                              client (closed 2016).

Experian Information Solutions, Inc.            Other Potential Parties   •   Experian Information Solutions, Inc.
                                                                              is: (a) a co-client in two new matters
                                                                              (both opened 2015) with affiliate
                                                                              company, co-client and co-defendant
                                                                              Experian Holdings, Inc.; and (b) a co-
                                                                              client and co-defendant with affiliate
                                                                              company Experian Data Corporation
                                                                              in a new matter (opened 2015); and
                                                                          •   Affiliate company Experian Health
                                                                              (d/b/a Search America, Inc.) is now a
                                                                              former client (closed 2015).

Farallon Capital (AM) Investors, L.P.           Bondholders               •   Farallon Capital Management LLC is
Farallon Capital AA Investors, L.P.                                           a new client (opened 2015).
Farallon Capital Institutional Partners II,
    L.P.
Farallon Capital Institutional Partners III,
    L.P.
Farallon Capital Institutional Partners, L.P.
Farallon Capital Management LLC (US)
Farallon Capital Offshore Inestors II, L.P.
Farallon Capital Partners, L.P.

Farallon Capital Management LLC                 Bondholders
                                                and
                                                Lenders

Ferguson Enterprises, Inc.                      Rule 2002 Parties         •   Affiliate company Calumet
                                                                              Photographic, Inc. is now a former
                                                                              client (closed 2016).

Fidelity Information Services LLC               Contract Counterparties   •   FMR LLC and affiliate company
                                                                              Fidelity Investments are co-clients in
Fidelity Management and Research                Bondholders                   a new joint representation (opened
    Company (FMR)

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                                           and                  2016);
                                           Lenders          •   Affiliate company Fidelity
                                                                Management and Research Company
                                                                (FMR) is: (a) a co-client in a new
                                                                defense group representation of
                                                                General Motors term lenders
                                                                (opened 2015); and (b) a significant
                                                                equity holder of new client Swift
                                                                Energy Company;
                                                            •   Affiliated entities Fidelity Central
                                                                Investment Portfolios LLC: Fidelity
                                                                Floating Rate Fund; Fidelity Central
                                                                Investment Portfolios LLC: Fidelity
                                                                High Income Central Fund 1;
                                                                Fidelity Central Investment Portfolios
                                                                LLC: Fidelity High Income Central
                                                                Fund 2 and Fidelity Investments Life
                                                                Insurance Company are co-clients in
                                                                a new unrelated matter (opened 2015);
                                                                and
                                                            •   Affiliate company FIL Limited
                                                                (a/k/a Fidelity International Limited)
                                                                is now a former client (closed 2015).

Fideuram Asset Management (Ireland) Ltd.   Bondholders      •   Affiliate company Intesa SanPaolo
                                                                S.p.A. is the beneficial owner of new
                                                                client Managed Accounts Master
                                                                Fund Services – MAP 5
                                                                (opened 2015); and
                                                            •   Affiliate company Banca IMI S.p.A.
                                                                is: (a) a co-client in a new joint
                                                                representation (opened 2015) with
                                                                current client Credit Agricole CIB;
                                                                and (b) a co-client in a new matter
                                                                (opened 2016) with new client Banca
                                                                Sistems S.p.A. (opened 2016).




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Franklin Floating Rate Trust                   Bondholders             •   Affiliated entity Franklin Strategic
Franklin Mutual Advisers, Inc.                 and                         Series-Franklin Biotechnology
Franklin Mutual Shares                                                     Discovery Fund is a new client
                                               Lenders
                                                                           (opened 2015);
Franklin Mutual Advisers LLC                   Bondholders             •   Franklin Mutual Advisors LLC and
Franklin Templeton                                                         affiliated entities Franklin Advisers,
                                                                           Inc., Franklin Strategic Income
Franklin Mutual Global Discovery Fund          Lenders                     Fund, FTIF – Franklin Strategic
    (Canada)                                                               Income Fund, FTVIPT – Franklin
Franklin Mutual Global Discovery VIP                                       Strategic Income VIP Fund,
    Fund                                                                   Franklin Templeton Global
Franklin Mutual Quest Fund                                                 Multisector Plus (Master) Fund, Ltd.,
Franklin Mutual Recovery Fund                                              Franklin Templeton Global
Franklin Mutual Shares Fund                                                Multisector Plus Trust, Franklin
Franklin Mutual Shares VIP Fund                                            Templeton Limited Duration Income
Franklin Mutual US Shares Fund Canada                                      Trust, Franklin Templeton
Franklin Strategic Series-Franklin Strategic                               Multisector Bond Fund and FTIF –
    Income Fund                                                            Franklin Templeton Global
JNL/Franklin Templeton Mutual Shares                                       Fundamental Strategies Fund are co-
    Fund                                                                   clients in a new matter (opened 2016);
Mutual Shares Fund of Franklin Mutual                                      and
    Advisors LLC
VY Franklin Mutual Shares Portfolio                                    •   In its prior disclosure Jones Day
                                                                           inadvertently did not include affiliate
                                                                           company and current client Franklin
                                                                           Templeton Asset Management
                                                                           (FTAM).

Freedom Specialty Insurance Company            Insurers                •   In its prior disclosure Jones Day
Scottsdale Insurance Company                                               inadvertently did not include:
                                                                           (a) affiliate company and current client
                                                                           Nationwide Realty Investors, Ltd.
                                                                           (opened 2014); and (b) affiliate
                                                                           company Nationwide Life Insurance
                                                                           Company which is now a former client
                                                                           (closed 2016).

Frito-Lay North America, Inc.                  Rule 2002 Parties       •   Affiliate company Frito-Lay, Inc. is
                                                                           now a former client (closed 2015).
                                                                       •   See also entry below for Pepsico, Inc.,
                                                                           et al. regarding related disclosure

GLG Partners, L.P.                             Bondholders             •   Affiliate company Numeric Investors
                                               and                         LLC is a new client (opened 2015).
                                               Lenders

Google, Inc.                                   Significant Unsecured   •   Affiliate companies Google Payments


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                                           Creditors                     Ltd. and Google Payments
                                                                         Corporation are the employers of an
                                                                         individual who is a new client
                                                                         (opened 2016); and
                                                                     •   In its prior disclosure Jones Day
                                                                         inadvertently did not include affiliate
                                                                         company Skybox Imaging, Inc., a
                                                                         current and now former client
                                                                         (closed 2016).

Goldman Sachs & Co.                        Bondholders               •   Subsequent to Jones Day's prior
Goldman Sachs Asset Management             and                           disclosure, Goldman Sachs & Co. was
Goldman Sachs Special Situations                                         a current and now former co-client in a
                                           Lenders
Goldman Sachs TC Master Partnership,                                     matter with current client JPMorgan
   L.P.                                                                  Chase Bank, N.A. that was concluded
                                                                         in 2016;
Goldman Sachs Bank USA                     Bondholders
                                                                     •   Affiliated entities Goldman Sachs
                                           Lenders                       Funds II SICAV – Goldman Sachs
                                           and                           Global Multi-Manager Alternatives
                                           Contract Counterparties       Portfolio, Goldman Sachs Trust II –
                                                                         Goldman Sachs Multi-Manager
                                                                         Alternatives Fund and Goldman
Goldman Sachs & Co. (US)                   Bondholders                   Sachs Profit Sharing Master Trust
Goldman Sachs Asset Management, L.P.                                     are co-clients in a new unrelated
   (US)                                                                  matter. (opened 2016);
Goldman Sachs Execution & Clearing, L.P.
Goldman Sachs International                                          •   Affiliate company Goldman Sachs
Special Situations Investing Group, Inc.                                 Merchant Banking Division is a new
                                                                         client (opened 2015);
GS Investment Strategies LLC AC Liberty    Lenders
                                                                     •   Affiliate companies Goldman Sachs
    Harbor
                                                                         Paris, Inc. & Cie and Goldman Sachs
Goldman Sachs Lending Partners LLC
                                                                         Asset Management LLC are now
                                                                         former clients (both closed 2015);
                                                                     •   Subsequent to Jones Day's prior
                                                                         disclosure, affiliate company and
                                                                         current client Goldman Sachs
                                                                         International was a current and now
                                                                         former co-client with former client
                                                                         TOP III Finance 3 LLC (closed 2016)
                                                                         in a joint representation that was
                                                                         concluded in 2016;
                                                                     •   McCarthy & Stone Limited, an entity
                                                                         of which affiliate company Goldman
                                                                         Sachs International is a stockholder,
                                                                         is now a former client (closed 2015);
                                                                     •   Lundy, L.P., an entity in which


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                                                                       affiliate company Goldman Sachs
                                                                       International is an investor, is now a
                                                                       former client (closed 2016); and
                                                                   •   APX Group, Inc., an entity in which
                                                                       affiliate company Goldman Sachs is
                                                                       an investor, is an affiliated entity in
                                                                       now former client Board of Directors
                                                                       of APX Group, Inc. (closed 2016).

Harvard Management                       Bondholders               •   The President and Fellows of Harvard
                                         and                           College (a/k/a Harvard University) is
                                         Lenders                       now: (a) a former client
                                                                       (closed 2016); and (b) a former co-
                                                                       client in the joint representation with
The President and Fellows of Harvard     Lenders
    College (a/k/a Harvard University)                                 now former client Massachusetts
                                                                       Institute of Technology (closed 2016)
                                                                       that was concluded in 2016;
                                                                   •   In its prior disclosure, Jones Day
                                                                       inadvertently did not include current
                                                                       clients and affiliated entities First
                                                                       Generation Harvard Alumni Group
                                                                       and Harvard Property Trust LLC
                                                                       d/b/a Behringer Harvard.

HCC (name given)                         Insurers                  •   Parent company HCC Insurance
                                                                       Holdings, Inc. is now a former client
                                                                       (closed 2015).

Hospitality Network LLC                  Contract Counterparties   •   The individual previously disclosed as
                                         and                           a current client and employee of
                                                                       affiliate company Vinsolutions is now
                                         Significant Unsecured         a former client (closed 2015).
                                         Creditors
                                                                   •   See also entry above for affiliate
                                                                       company Cox Communications, Inc.
                                                                       regarding related disclosure.

Houlihan Lokey, Inc.                     Professionals             •   Houlihan Lokey, Inc. is now a former
                                                                       client (closed 2015); and
                                                                   •   Affiliate company Orix Healthcare
                                                                       Capital LLC is a new client
                                                                       (opened 2015).

HSBC Bank USA, N.A. – IPB                Bondholders               •   Affiliate company and current client
HSBC Global Asset Management (USA),                                    HSBC France is a co-client in a new
   Inc.                                                                matter (opened 2016) with current
HSBCSI                                                                 client Goldman Sachs International;


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                                                                 •   Affiliate company HSBC Securities
HSBC Bank Plc                          Lenders                       (USA), Inc. is: (a) a former co-client
                                                                     with current client Citigroup, Inc. in a
                                                                     matter concluded in 2015; and
                                                                     (b) a former co-client with current
                                                                     client JPMorgan Chase Bank, N.A. in
                                                                     a matter concluded in 2016;
                                                                 •   Affiliate company HSBC Securities
                                                                     and Capital Markets (India) Private
                                                                     Limited is a former co-client with
                                                                     current client Kotak Mahindra Capital
                                                                     Co., Ltd. in a matter concluded in
                                                                     2016; and
                                                                 •   Affiliate companies HSBC
                                                                     International Trustee Limited and
                                                                     HSBC Trustee (C.I.) Limited
                                                                     (both closed 2015); and HSBC Bank
                                                                     USA, National Association and HSBC
                                                                     Global Asset Management (USA), Inc.
                                                                     (both closed 2016) are former clients.

Hudson Bay Absolute Return Credit      Lenders                   •   To the extent it is related to the named
   Opportunities Master Fund Ltd.                                    party in interest, Hudson Bay Capital
                                                                     Management, L.P. is: (a) now a former
                                                                     client (closed 2015); and (b) a major
                                                                     equity holder of current client Alpha
                                                                     Natural Resources, Inc..

IGT (name given)                       Contract Counterparties   •   International Game Technology (IGT)
                                       and                           is now a former client (closed 2016).
                                       Significant Unsecured     •   See also Exhibit C entry for
                                       Creditors                     Dreamport Suffolk Corporation
                                                                     regarding related disclosure.

The Illuminating Company               Utilities                 •   Affiliate companies FirstEnergy
                                                                     Service and FE Aircraft Leasing
                                                                     (opened 2015); and FirstEnergy
                                                                     Service Company (opened 2016) are
                                                                     new clients; and
                                                                 •   Affiliated entity FirstEnergy System
                                                                     Master Retirement Trust is a co-client
                                                                     in a new matter (opened 2016).




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Indiana Gaming Commission                 Regulatory Authorities   •   The State of Indiana is now a former
                                          and                          client (closed 2015).
                                          Taxing Authorities

Indiana Alcohol & Tobacco Control         Taxing Authorities
    Commission
Indiana Department of Environmental
    Management
Indiana Department of Revenue
State of Indiana

Indiana State Lottery Commission          Regulatory Authority

Industrial & Commercial Bank of China     Bondholders              •   Subsequent to Jones Day's prior
    Financial Services LLC/Equity                                      disclosure, affiliate company Industrial
    Clearance                                                          and Commercial Bank of China
                                                                       (Europe) S.A. Paris Branch became a
                                                                       current and now former client
                                                                       (closed 2015); and
                                                                   •   Affiliate company ICBC (London) Plc
                                                                       is now a former client (closed 2015).

ING Financial Markets, Inc.               Bondholders              •   Affiliate company ING Bank N.V.,
ING Financial Markets LLC/International                                Seoul Branch is: (a) a new client
   Equity Finance                                                      (opened 2015); and (b) a co-client in a
ING Investment Management                                              new matter (opened 2015) with current
                                                                       client Standard Chartered Bank;
ING (L) Flex-Senior Loans                 Lenders
ING Investment Management Innocap Fund                             •   Affiliate company ING Real Estate
   SICAV Plc                                                           Finance S.E. EFC S.A. is now a
                                                                       former client (closed 2015);
                                                                   •   Affiliate company and current client
                                                                       ING Bank, N.V. is: (a) the employer
                                                                       of an individual who is a new client
                                                                       (opened 2015); and (b) subsequent to
                                                                       Jones Day's prior disclosure, was a
                                                                       current and now former co-client with
                                                                       current client Intesa SanPaolo in a
                                                                       matter concluded in 2016; and
                                                                   •   The joint representation of term
                                                                       lenders, in which affiliate client ING
                                                                       Alternative Asset Management LLC,
                                                                       along with several other ING entities,
                                                                       were co-clients, was concluded in
                                                                       2015.



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International Business Machines (IBM)   Contract Counterparties   •   Affiliate companies IBM Australia
                                                                      Ltd., IBM Super Pty Ltd. and IBM
                                                                      Superlife Services Pty Ltd. are co-
                                                                      clients in a new joint representation
                                                                      (opened 2015) with parent company
                                                                      and current client International
                                                                      Business Machines Corporation;
                                                                  •   Affiliate company IBM Credit LLC is:
                                                                      (a) a new client (opened 2015); and
                                                                      (b) a co-client in a new matter
                                                                      (opened 2015) with parent company
                                                                      International Business Machines
                                                                      Corporation;
                                                                  •   Affiliated entity IBM Personal
                                                                      Pension Plan Trust (International
                                                                      Business Machines) is a co-client in a
                                                                      new unrelated matter (opened 2015);
                                                                  •   Affiliate company and current client
                                                                      IBM Japan, Ltd. is a co-client in
                                                                      several current matters (opened 2014
                                                                      and 2015, respectively) with parent
                                                                      company International Business
                                                                      Machines Corporation;
                                                                  •   Affiliate companies IBM Japan Staff
                                                                      Operations Co., Ltd. and IBM Japan
                                                                      Services Co. Ltd. are each former co-
                                                                      clients with parent company
                                                                      International Business Machines
                                                                      Corporation in two separate matters,
                                                                      both concluded in 2015; and
                                                                  •   In its prior disclosure Jones Day
                                                                      inadvertently did not include affiliate
                                                                      company Seterus, Inc. (f/k/a IBM
                                                                      Lenders Business Process Services),
                                                                      which is a co-client in a current matter
                                                                      with parent company International
                                                                      Business Machines Corporation.

Industrial & Commercial Bank of China   Bondholders               •   Affiliate company ICBC (London) Plc
    Financial Services LLC/Equity                                     is now a former client (closed 2015);
    Clearance
                                                                  •   Affiliate company ICBC (Europe)
                                                                      S.A. is a new client (opened 2016);
                                                                  •   Chinese government regulated
                                                                      companies Yima Coal Industry Group


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                                                               Co. Ltd. (re-opened 2014); CDB
                                                               Leasing Co., Ltd., Avic International
                                                               Holding (Zhuhai) Company Limited
                                                               and China Merchants Finance
                                                               Holdings Company Limited
                                                               (all opened 2015); and China
                                                               Investment Corporation, COSCO
                                                               Belgium NV China Ocean Shipping
                                                               Company, Florens Container
                                                               Services Company Limited and CITIC
                                                               Dicastal (Europe) Investment
                                                               Holdings GmbH & Co. KG
                                                               (all opened 2016) are new clients;
                                                           •   In its prior disclosure Jones Day
                                                               inadvertently did not include Chinese
                                                               government regulated companies and
                                                               current clients ICBC Standard Bank
                                                               Plc and China State Construction
                                                               Engineering Corporation (Middle
                                                               East) LLC; and
                                                           •   Chinese government regulated
                                                               companies Chengdu Investment
                                                               Holding Group Co., Ltd., Beijing
                                                               General Aviation (Group) Co. Ltd.,
                                                               Great Wall Drilling Company Ltd.,
                                                               China Guodian Corporation, China
                                                               Eastern Airlines Corporation Limited
                                                               and China Harbour Engineering
                                                               Company Ltd. (all closed 2015); and
                                                               China Railway Materials Commercial
                                                               Corporation, AVIC International
                                                               Kairong Ltd., Chongqing Polycomp
                                                               International Corporation, CCCC
                                                               International Holding Limited, China
                                                               National Offshore Oil Corporation
                                                               (CNOOC) and Florens Management
                                                               Services (Macao Commercial
                                                               Offshore) Limited (all closed 2016)
                                                               are now former clients.

Invesco Advisers, Inc.                                     •   Affiliate company Invesco Asset
                                          Bondholders
Invesco PowerShares Capital Management                         Management and Imperial
    LLC                                   and                  Innovations is a new client
Invesco Senior Secured Management, Inc.   Lenders              (opened 2016); and

Invesco Dynamic Credit Opportunities                       •   Affiliate company WL Ross & Co. is a
    Fund                                                       former co-client and co-defendant with
Invesco Floating Rate Fund                                     current client International Textile


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Invesco Senior Income Trust                                              Group, Inc. in a matter concluded in
Invesco Senior Loan Fund                                                 2016.
Invesco Zodiac Funds – Invesco US Senior
    Loan Fund
Powershares Sr. Loan Portfolio

Invesco Management & Research
The J. M. Smucker Company                  Contract Counterparties   •   In its prior disclosure Jones Day
                                                                         inadvertently did not include affiliate
                                                                         company and current client Smucker
                                                                         Foods, Inc.

Janney Montgomery Scott LLC                Bondholders               •   Janney Montgomery Scott LLC is now
                                                                         a former client (closed 2016).

Jefferies                                  Bondholders               •   Jefferies LLC is a minority joint
                                           and                           venture partner in new client Visible
                                           Lenders                       Alpha LLC (opened 2015).

Jefferies LLC                              Bondholders

Jefferies Leveraged Credit Products        Lenders

JPMorgan Chase Bank, N.A.                  Agents and Indenture      •   Highbridge Capital Management LLC
                                           Trustees                      is now a former client (closed 2016);
                                           Bondholders                   and
                                           and                       •   Affiliate company and current client
                                           Lenders                       JPMorgan India Private Limited was
                                                                         a current and now former co-client
JPMorgan Asset Management                  Bondholders                   with current client CLSA Limited in a
JPMorgan Chase                             and                           matter concluded in 2016.
JPMorgan Pacholder
                                           Lenders

Highbridge Capital Management LLC          Bondholders
Highbridge Principle Strategies
JPMorgan Chase Bank/Correspondence
   Clearing Services 2
JPMorgan Chase Bank/PCS Shared
   Services
JPMorgan Clearing Corporation
JPMorgan Investment Management, Inc.
JPMorgan Securities LLC

Chase (name given)                         Lenders
JPMorgan Whitefriars, Inc.




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Kansas City Power & Light Company       Utilities                •   The matter in which Kansas City
                                                                     Power & Light Company and its
                                                                     affiliate company KCP&L Greater
                                                                     Missouri Operations Company were
                                                                     co-clients, concluded in 2015.

Keybank, N.A.                           Bondholders              •   In its prior disclosure Jones Day
                                                                     inadvertently did not include affiliate
Key Capital Markets                     Bondholders                  company Key Capital Corporation,
                                        and                          which was a current and now former
                                        Lenders                      client (closed 2015).

King Street Capital Management LLC      Bondholders              •   Joint representations in which affiliate
                                        and                          company and current client King
                                                                     Street Capital Management, L.P. was
                                        Lenders
                                                                     a co-client, concluded in 2015.



KKR Asset Management                    Bondholders              •   Affiliate company Winoa is now a
                                        and                          former client (closed 2015); and
                                        Lenders                  •   Affiliate company KKR & Co., L.P. is:
                                                                     (a) the new parent company of current
KKR Corporate Credit Partners, L.P.     Lenders                      client Air Medical Group Holdings,
KKR Credit Relative Value Master                                     Inc.; (b) the ultimate parent of new
  Fund, L.P.                                                         client Selecta S.A. (opened 2015); and
KKR Debt Investors II (2006)                                         (c) a stockholder of Weld North LLC,
  (Ireland), L.P.                                                    the parent company of Organic
KKR Floating Rate Fund, L.P.                                         Avenue, which is now a former client
KKR Income Opportunities Fund                                        (closed 2015).
KKR-PBPR Capital Partners, L.P.

KKR Credit Advisors (US) LLC            Rule 2019 Parties

Latigo Partners, L.P.                   Bondholders              •   Latigo Partners, L.P. is a new client
                                        and                          (opened 2016).
                                        Lenders

Law Debenture Trust Company of New      Member of the Official   •   Affiliate company Law Debenture
   York                                 Unsecured Creditors'         Trust Corporation Plc is now a former
                                        Committee                    client (closed 2015).

Legg Mason Western Asset Senior Loans   Lenders                  •   Affiliated entity Legg Mason Partners
   Fund                                                              Capital and Income Fund is a co-
LMP Corporate Loan Fund, Inc.                                        client in a new matter (opened 2015).




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Lloyds Bank Pension Scheme No. 1          Bondholders              •   Affiliate companies Bank of Scotland,
Lloyds Bank Pension Scheme No. 2                                       Sucursal en España (closed 2016); and
                                                                       Caley Limited (closed 2015) are now
Lloyd's                                   Insurers                     former clients.
Lloyds of London
Lloyd's Syndicate 1910

Lord, Abbett & Co., Inc.                  Bondholders              •   Dana Holding Corporation, an entity
Lord Abbett                               Lenders                      of which Lord, Abbett & Co., Inc. is a
Lord Abbett Bank Loan Trust                                            stockholder, is now a former client
Lord Abbett Investment Trust – Lord                                    (closed 2015).
    Abbett Floating Rate Fund

Lyxor/Avenue Opportunities Fund Ltd.      Significant Litigation   •   Affiliated entities Lyxor/Canyon
                                          Counterparties               Credit Strategy Fund Limited and
                                                                       Lyxor/Canyon Value Realization
                                                                       Fund Limited are co-clients in a new
                                                                       matter (opened 2016).

Mackay HYAC                               Bondholders              •   Affiliate company Cuyahoga Capital
Mackay Shields UK LLP                     and                          Partners LLC is now a former client
New York Life Insurance Company                                        (closed 2015); and
                                          Lenders
                                                                   •   MSD Performance, Inc., an entity of
                                                                       which affiliate company and current
                                                                       client Madison Capital Funding LLC
                                                                       is a stockholder, is now a former client
                                                                       (closed 2015).

Mackenzie Corporate Bond Fund             Lenders                  •   Affiliate company Mackenzie
Mackenzie North American Corporate Bond                                Strategic Bond Fund is a co-client in
   Fund                                                                a new matter (opened 2016).

Macquarie Allegiance Capital LLC          Bondholders              •   Affiliate companies Macquarie
Macquarie Bank Ltd.                       and                          Infrastrucgture and Real Assets
                                          Lenders                      (Europe) Limited and Macquarie
                                                                       Infrastructure and Real Assets, Inc.
                                                                       (both opened 2015); and Macquarie
                                                                       Russia & CIS Infrastructure Fund,
                                                                       L.P. (MRIF LP) (opened 2016) are
                                                                       new clients; and
                                                                   •   Affiliate company Macquarie
                                                                       European Infrastructure Fund 4, L.P. is
                                                                       now a former client (closed 2016).




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Magnetar Financial LLC                     Bondholders               •   Magnetar Financial LLC is now a
                                           and                           former client (closed 2016).
                                           Lenders

Marathon Asset Management LLP              Bondholders               •   Marathon Asset Management, L.P. is
                                           and                           a co-client in a new matter (opened
                                           Lenders                       2016).

Marathon Centre Street Partnership, L.P.   Lenders
Marathon CLO VI Ltd.
Marathon Court Square, L.P.
Marathon Credit Dislocation Fund, L.P.
Marathon Credit Opportunity Master Fund
   Ltd.
Marathon Les Grandes Jorasses Master
   Fund SCA SICA V-SIF
Marathon Liquid Credit Long Short Fund
Marathon Special Opportunity Master Fund
   Ltd.

Massachusetts Financial Services           Bondholders               •   Parent company Sun Life Financial,
   Company                                                               Inc. is: (a) a new client (opened 2015);
                                                                         and (b) a co-client in a new matter
Massachusetts Financial Master SIF         Lenders                       (opened 2015); and
   SICAV-SIF
                                                                     •   Atrium European Real Estate Ltd., an
                                                                         entity of which affiliate company MFS
                                                                         Investment Management is a
                                                                         shareholder, is now a former client
                                                                         (closed 2015).

MassMutual a/k/a Massachusetts Mutual      Contract Counterparties   •   Affiliate company
   Life Insurance Company                                                OppenheimerFunds, Inc. is: (a) a co-
                                                                         client in a new matter (opened 2016);
                                                                         and (b) a co-client in a new matter
                                                                         (opened 2015) with current client
                                                                         Fortress Investment Group LLC.

MGM Resorts International                  Significant Litigation    •   MGM Resorts International and
                                           Counterparties                affiliate companies Aria Resorts
                                                                         Casino Holdings LLC and Bellagio
                                                                         LLC are now former clients
                                                                         (all closed 2016).

Mississippi Power                          Utilities                 •   Parent company Southern Company is
                                                                         a co-client with affiliate companies
                                                                         and co-clients Southern Nuclear
                                                                         Operating Company, Inc., Southern

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                                                                         Power Company and Southern
                                                                         Company Services, Inc. in three
                                                                         separate new matters
                                                                         (all opened 2016).

Missouri Gas Energy (MGE)                    Utilities               •   The joint representation in which
                                                                         Missouri Gas Energy and affiliate
                                                                         company Laclede Gas Company were
                                                                         co-clients, was concluded in 2015.

Mitsubishi UFJ Trust & Banking               Bondholders             •   Affiliate company Bank of Tokyo-
    Corporation (USA)                                                    Mitsubishi, UFJ Ltd., Milan Branch is
                                                                         now a former client (closed 2015); and
                                                                     •   Affiliate company and current client
                                                                         The Bank of Tokyo-Mitsubishi UFJ,
                                                                         Ltd. is a co-client in a new matter
                                                                         (opened 2015) with current client DBS
                                                                         Bank (Hong Kong) Limited.

Monarch Alternative Capital, L.P.            Bondholders             •   Monarch Alternative Capital, L.P. is
Monarch Alternative Solutions Master Fund                                a co- client in a new matter (opened
   Ltd.                                                                  2016).
Monarch Capital Master Partners III, L.P.
Monarch Debt Recovery Master Fund Ltd.

Morgan Stanley                               Bondholders             •   The individual previously disclosed as
                                             and                         a current client and former employee
                                             Lenders                     of parent company Morgan Stanley, is
                                                                         now a former client (closed 2015);
Morgan Stanley & Co. LLC                     Bondholders             •   Morgan Stanley & Co. LLC is a co-
Morgan Stanley Investment Management,                                    client in a new matter (opened 2016)
   Inc.                                                                  with current client JPMorgan Chase
Morgan Stanley Smith Barney LLC                                          Bank, N.A.;
Morgan Stanley Wealth Management
                                                                     •   Affiliate company Morgan Stanley
Morgan Stanley Senior Funding, Inc.          Lenders                     Private Wealth Management is a new
                                                                         client (opened 2016);
                                                                     •   Morgan Stanley Senior Funding, Inc.
                                                                         is a co-client in a new matter (opened
                                                                         2016); and
                                                                     •   Affiliate company Morgan Stanley
                                                                         Eurozone Fund is now a former client
                                                                         (closed 2016).

Morton's Restaurant Group, Inc. (Morton's)   Landlords and Tenants   •   Parent company and current client
                                                                         Landry's Inc. is a former co-client
                                                                         with several of its Morton's Restaurant

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                                                                          Group affiliate companies in a matter
                                                                          concluded in 2015.
                                                                      •   See also Exhibit B entry for Morton's
                                                                          of Chicago Atlantic City regarding
                                                                          related disclosure.

Motorola Solutions, Inc.                    Contract Counterparties   •   Motorola Solutions, Inc. is the former
                                                                          parent company of current client
                                                                          Freescale Semiconductor, Inc. and a
                                                                          current and former co-client, co-
                                                                          defendant and indemnitee in several
                                                                          current and concluded matters
                                                                          (closed 2014 and 2016) with
                                                                          Freescale Semiconductor.

Natixis                                     Bondholders               •   Affiliate company Natixis
                                            and                           Zweigniederlassung Deutschland is a
                                                                          new client (opened 2016); and
                                            Lenders
                                                                      •   Affiliate company Natixis Global
                                                                          Asset Management is the parent
                                                                          company of AEW Europe, which is
                                                                          now a former client (closed 2016).

Nomura Corporate Funding Americas LLC       Lenders                   •   Affiliate company Banque Nomura
                                                                          France is now a former client
Nomura Corporate Research & Asset           Bondholders                   (closed 2016);
   Management, Inc. (US)
Nomura Securities International, Inc.                                 •   Subsequent to Jones Day's prior
Nomura Securities/Fixed Income                                            disclosure, Nomura International Plc
                                                                          was a current and now former co-
Nomura Credit & Capital, Inc.               Contract Counterparties       client with current client Intesa
                                                                          SanPaolo in a matter concluded in
                                                                          2016; and
                                                                      •   Affiliate company Nomura Financial
                                                                          Advisory and Securities (India)
                                                                          Private Limited is a co-client in a new
                                                                          matter (opened 2015) with current
                                                                          client JM Financial Institutional
                                                                          Securities Limited.

The Northern Trust Company                  Bondholders               •   The Northern Trust Company is the
Northern Trust Company/Future Fund                                        employer of an individual who is now
    Accounts                                                              a former client (closed 2015).

Oak Hill Advisors, L.P.                     Bondholders               •   Varagon Capital Partners, L.P., an
Oak Hill Credit Alpha Master Fund, L.P.                                   entity in which affiliate company Oak
Oak Hill Credit Opportunities Master Fund                                 Hill Capital Management is a 50%


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    Ltd.                                                               partner, is now a former client
                                                                       (closed 2016); and
Oak Hill Credit Partners                  Bondholders
                                                                   •   McCarthy & Stone Limited, an entity
                                          and                          of which affiliate company Oak Hill
                                          Lenders                      Advisors, L.P. is a stockholder, is now
                                                                       a former client (closed 2015).

Oaktree                                   Bondholders              •   Oaktree Capital Management, L.P.,
Oaktree Capital Management, L.P.          and                          Oaktree Loan Fund 2x (Cayman),
                                          Lenders                      L.P., Oaktree Senior Loan Fund, L.P.
                                                                       and affiliated entities OCM High
Oaktree Loan Fund 2x (Cayman), L.P.       Lenders                      Yield Trust, Oaktree Loan Fund,
                                                                       L.P., Oaktree High Yield Plus Fund,
Oaktree Senior Loan Fund, L.P.
                                                                       L.P., Oaktree High Yield Fund II,
Oaktree FF Investment Fund LP – Class B   Significant Litigation       L.P., Oaktree High Yield Fund, L.P.,
Oaktree Opoportunities Fund VIII          Counterparties               Oaktree Loan Fund 2x TRS SPV 1,
   Delaware, L.P.                                                      L.P. are co-clients in a new matter
                                                                       (opened 2015).
Oaktree Opportunities Fund VIIIB
   Delaware, L.P.
Oaktree Value Opportunities Fujnd
   Holdings, L.P.
OCM Opportunities Fund VII Delaware,
   L.P.
OCM Opportunities Fund VIIB Delaware,
   L.P.

Och-Ziff Capital Management UK            Lenders                  •   Affiliate companies Och-Ziff Capital
Och-Ziff Capital Management UK AC OZ                                   Management Group LLC, OZ
   Special Master Fund Ltd.                                            Management, L.P. and OZ
OZ Management LLC                                                      Management II, L.P. are co-clients in
OZ Special Master Fund Ltd.                                            a new matter (opened 2016);
                                                                   •   Affiliate company Och-Ziff Capital
                                                                       Investments LLC is now a former co-
                                                                       client in a joint representation that was
                                                                       concluded in 2015; and
                                                                   •   The joint bondholders representation
                                                                       in which affiliate company and current
                                                                       client Och-Ziff Capital Management
                                                                       was a co-client, concluded in 2016.




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Ohio Public Employees Retirement System   Bondholders              •   The Ohio Secretary of State
   (OPERS)                                                             (opened 2016) and The Ohio State
                                                                       University Medical Center
Ohio Casino Control Commission            Regulatory Authorities       (opened 2015), a unit of state
Ohio Lottery Commission                                                regulated and current client Ohio State
Ohio State Racing Commission                                           University, are new clients;
                                                                   •   State regulated entity State Teachers
                                                                       Retirement Board of Ohio is a co-
                                                                       client in a new matter (opened 2015);
                                                                       and
                                                                   •   Subsequent to Jones Day's prior
                                                                       disclosure, state regulated entity Ohio
                                                                       Public Employees Retirement System
                                                                       became a current and now former
                                                                       client (closed in 2016).

Onex Credit Partners                      Bondholders              •   The joint representation of parent
                                          and                          company Onex Corporation and
                                          Lenders                      affiliate company Onex Partners
                                                                       Advisor, L.P. was concluded in 2015.

Owl Creek Investments I LLC               Rule 2019 Parties        •   Affiliate company and current client
                                                                       Owl Creek Asset Management, L.P. is
                                                                       now: (a) a former co-client in the joint
                                                                       representation that was concluded in
                                                                       2015; and (b) a former co-client in a
                                                                       joint bondholders representation that
                                                                       concluded in 2016.

Pentwater Capital Management, L.P.        Bondholders              •   Affiliate company Pentwater Capital
                                                                       Management Europe LLP is now a
Pentwater Equity Opportunities Master     Lenders                      former client (closed 2016).
    Fund Ltd.
Pentwater Event Driven Cayman Fund Ltd.




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Pepsico, Inc.                               Member of Official        •   The individual previously disclosed as
                                            Committee of Unsecured        a current client and an employee of
                                            Creditors                     affiliate company and now former
                                            and                           client Frito Lay, Inc. (closed 2015), is
                                            Contract Counterparties       now a former client (closed 2016).
                                                                      •   See also entry above for Frito-Lay
The Pepsi Bottling Group                    Significant Unsecured         North America, Inc. regarding related
                                            Creditors                     disclosure.
                                            and
                                            Contract Counterparties

PepsiCo Foodservice                         Contract Counterparties
Pepsi-Cola Fountain Co., Inc.

PepsiCo Sales, Inc.                         Rule 2002 Parties

Perella Weinberg Partners, L.P.             Professionals             •   Affiliate company Perella Weinberg
                                                                          Real Estate Partners UK, L.P. is now
                                                                          known as current client PW Real
                                                                          Assets LLP; and
                                                                      •   Subsequent to Jones Day's prior
                                                                          disclosure, affiliate 33 Grosvenor
                                                                          Place Limited became a current and
                                                                          now former client (closed 2015).

Permal Canyon Fund Ltd.                     Lenders                   •   Affiliate company Permal Canyon IO
Permal Contrarian Fund I Ltd.                                             Ltd. is a co-client in a new matter
                                                                          (opened 2016).

Pinebridge                                  Bondholders               •   Method Holdings LLC, an entity of
Pinebridge Investments                      and                           which Pinebridge Investments is a
                                            Lenders                       member, is now a former client
                                                                          (closed 2015); and
Pinebridge Senior Secured Loan Fund Ltd.    Lenders                   •   In its prior disclosure Jones Day
                                                                          inadvertently did not include affiliate
                                                                          company and current client Pinebridge
                                                                          Investments Asia Limited
                                                                          (opened 2014).

Protiviti, Inc.                             Contract Counterparties   •   Affiliate company Protiviti Consulting
                                                                          Private Limited is now a former client
                                                                          (closed 2016).

Q Investments, L.P.                         Bondholders               •   Q Investments, L.P. is a co-client in a



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                                                                 new matter (opened 2016).

Qualcomm Global Trading Pte Ltd.          Lenders            •   Parent company and current client
                                                                 Qualcomm Incorporated is the new
                                                                 parent of current client CSR Limited
                                                                 (f/k/a CSR Plc);
                                                             •   Subsequent to Jones Day's prior
                                                                 disclosure, affiliated entity The
                                                                 Special Committee on Structure of the
                                                                 Board of Directors of Qualcomm, Inc.
                                                                 became a current and now former
                                                                 client (closed 2016); and
                                                             •   In its prior disclosure, Jones Day
                                                                 inadvertently did not include affiliate
                                                                 company and former client Qualcomm
                                                                 Wireless Communication
                                                                 Technologies (China) Limited
                                                                 (closed 2014).

RBS Greenwich Capital                     Bondholders        •   The joint representation in which
                                          and                    Royal Bank of Scotland Plc was a co-
                                          Lenders                client was concluded in 2015;
                                                             •   Affiliate companies The Royal Bank
RBS Securities, Inc.                      Bondholders            of Scotland N.V. (closed 2016); and
                                                                 Grupo RBS S.A. and RBS – Zero
Royal Bank of Scotland Plc                Lenders                Hora Editora Jornalistica S.A.
                                                                 (both closed 2015) are now former
                                                                 clients; and
                                                             •   In its prior disclosure Jones Day
                                                                 inadvertently did not include affiliate
                                                                 company and current client RBS
                                                                 Financial Products, Inc.
                                                                 (opened 2014).

Robert W. Baird & Co., Inc.               Bondholders        •   Affiliate companies Baird Venture
                                                                 Partners III and Baird Venture
                                                                 Partners V, L.P. (both opened 2015)
                                                                 are new clients.

Santander Bank                            Lenders            •   Affiliate company Santander Bank
                                                                 S.A. is now a former client
                                                                 (closed 2015); and
                                                             •   Affiliate company Banco Santander
                                                                 (México), S.A., Institución De Banca
                                                                 Múltiple, Grupo Financiero
                                                                 Santander México is a new client

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                                                                      (opened 2015).

SCANA Energy                            Utilities                 •   In its prior disclosure, Jones Day
                                                                      inadvertently did not include affiliate
                                                                      company and former client SCANA
                                                                      Energy Marketing, Inc. (closed 2014);
                                                                      and
                                                                  •   Affiliate company Public Service
                                                                      Company of North Carolina, Inc.
                                                                      (a/k/a PSNC) is a former co-client
                                                                      with affiliate company and current
                                                                      client South Carolina Electric & Gas
                                                                      Company in a matter concluded in
                                                                      2016.

Schindler Elevator Corporation          Contract Counterparties   •   Schindler Elevator Corporation
                                        and                           (closed 2016); and affiliate company
                                        Significant Unsecured         Elevadores Schindler, S. de R.L. de
                                                                      C.V. (closed 2015) are now former
                                        Creditors
                                                                      clients.

Scoggin Capital Management II LLC       Equity Holders            •   The joint representation in which
Scoggin International Fund Ltd.                                       Scoggin Capital Management II LLC,
                                                                      Scoggin International Fund Ltd.,
                                                                      parent company Scoggin Capital
                                                                      Management, L.P. and affiliate
                                                                      company Scoggin Worldwide Fund
                                                                      Ltd. were co-clients was concluded in
                                                                      2015; and
                                                                  •   The joint representation in which
                                                                      parent company Scoggin Capital
                                                                      Management, L.P. was a co-client was
                                                                      concluded in 2015.

Scotia Capital                          Bondholders               •   Affiliate company Grupo Financiero
                                        and                           Scotiabank Inverlat, S.A. is now a
                                        Lenders                       former client (closed 2015).

SEI Private Trust Company               Bondholders               •   Affiliated entity SEI Institutional
SEI Private Trust Company/GWP Seix                                    Trust Core Fixed Income Fund is a
    Advisors                                                          co-client in a new matter (opened
                                                                      2015); and
                                                                  •   Affiliated entities SEI Global Master
                                                                      Fund Plc, The SEI High Yield Fixed
                                                                      Income Fund, SEI Institutional
                                                                      Investments Trust-High Yield Bond


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                                                                        Fund and SEI Institutional Managed
                                                                        Trust-High Yield Bond Fund are
                                                                        former lenders and noteholders
                                                                        (as of 2/29/2016) and co-clients in a
                                                                        new matter (opened 2016).

SG Americas Securities LLC                Bondholders               •   Affiliate company Société Générale –
                                                                        Splitska Banka DD is now a former
                                                                        client (closed 2016); and
                                                                    •   Affiliate company Société Générale
                                                                        Corporate & Investment Banking is a
                                                                        co-client in a new joint representation
                                                                        (opened 2015) with current client
                                                                        Standard Chartered Bank.

Shell Energy North America                Letters of Credit         •   Infineum France SAS, an entity whose
Shell Energy North America (US), L.P.     Contract Counterparties       parent company is co-owned by
                                          and                           affiliate company Royal Dutch Shell
                                                                        Chemicals, is now a former client
                                          Utilities                     (closed 2016).


Shell Energy                              Utilities
Shell Energy North America (US) L.P.
    (Gas)

Silver Point Capital, L.P.                Bondholders               •   The joint representation in which
                                          and                           parent company SPCP Group LLC
                                                                        was a co-client was concluded in
                                          Lenders
                                                                        2015.

Silver Point Capital, L.P. (US)           Bondholders

SPCP Group III LLC                        Lenders
SPCP Group LLC

Simon Property Group, Inc.                Rule 2002 Parties         •   Mitsubishi Estate-Simon Co., Ltd., an
                                                                        entity in which Simon Property
                                                                        Group, Inc. is a joint venture partner
                                                                        and co-owner, is now a former client
                                                                        (closed 2016).

SMH Capital Advisors, Inc.                Bondholders               •   Affiliate company Cross MediaWorks
                                                                        LLC is a new client (opened 2015).

Sound Point Capital Management, L.P.       Bondholders              •   Sound Point Capital Management,
                                          and                           L.P. is a co-client in a new matter
                                                                        (opened 2016).
                                          Lenders

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                                             Lenders
Sound Point Beacon Master Fund, L.P.
Sound Point Credit Opportunities Master
   Fund, L.P.
Sound Point Floating Rate Fund A Series of
   Taylor Insurance Series, L.P.
Sound Point Floating Rate Income Fund
Sound Point Montauk Fund, L.P.
Sound Point Senior Floating Rate Master
   Fund, L.P.

Sprint Solutions, Inc.                       Contract Counterparties   •   Softbank Princeville Investments,
                                                                           L.P., an entity in which parent
Sprint Long Distance                         Utilities                     company Soft Group Corporation is a
Sprint Wireless                                                            major investor, is now a former client
                                                                           (closed 2015); and
                                                                       •   Affiliate companies Sprint Spectrum,
                                                                           L.P. and Sprint Energy Services LLC
                                                                           are new clients (both opened 2015).

Standard Bank of South Africa Limited        Lenders                   •   Affiliate company Banco Standard de
                                                                           Investimentos S.A. is now a former
                                                                           client (closed 2015).

Standard Chartered Bank                      Lenders                   •   Standard Chartered Bank is the
                                                                           employer of three individuals who are
                                                                           new clients (all opened 2016);
                                                                       •   Subsequent to Jones Day's prior
                                                                           disclosure, affiliate companies
                                                                           Standard Bank (China) Limited,
                                                                           Suzhou Branch and Standard
                                                                           Chartered Bank (Hong Kong) Limited
                                                                           were current and now former co-
                                                                           clients with Standard Chartered Bank
                                                                           in a matter concluded in 2016;

Starwood Hotels & Resorts Worldwide,         Contract Counterparties   •   Starwood Hotels & Resorts
    Inc.                                                                   Worldwide, Inc. is a co-client in a new
                                                                           matter (opened 2015) with affiliated
                                                                           entity Starwood Vacation Ownership;
                                                                           and
                                                                       •   Affiliate company Starwood Capital
                                                                           Group Global LLC is the ultimate
                                                                           parent company of new client InTown
                                                                           Suites, Inc. (opened 2015).



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State of Delaware                      Taxing Authorities        •   State governed entity, University of
                                                                     Delaware, is now a former client
                                                                     (closed 2016).

State Street Bank & Trust Company      Bondholders               •   State Street Bank & Trust Company
State Street Global Advisors (SSGA)                                  is a co-client in a new matter (opened
State Street Total ETF                                               2016);
                                                                 •   Parent company State Street
                                                                     Corporation is an equity holder of new
                                                                     client Peabody Energy Corporation
                                                                     (opened 2015);
                                                                 •   Affiliate company Babson Capital
                                                                     Management LLC is a co-client in a
                                                                     new matter (opened 2016); and
                                                                 •   Affiliated entity State Street Bank &
                                                                     Trust Company, as Trustee of the
                                                                     FCA US LLC Master Retirement
                                                                     Trust is a co-client in a new matter
                                                                     (opened 2015).

Strategic Value Partners LLC           Bondholders               •   McCarthy & Stone Limited, an entity
                                                                     of which Strategic Value Partners
                                                                     LLC is a stockholder, is now a former
                                                                     client (closed 2015); and
                                                                 •   Affiliate company State Street Global
                                                                     Advisors (SSGA) is now a former
                                                                     client (closed 2015).

Syclo LLC                              Contract Counterparties   •   Affiliate company SAP (UK) Limited
                                                                     is now a former client (closed 2016);
                                                                     and
                                                                 •   Affiliate companies SAP Labs LLC
                                                                     and SAP America, Inc. are co-clients
                                                                     in a new matter (opened 2016) with
                                                                     parent company and current client
                                                                     SAP SE.
                                                                 •   See also Exhibit B entry for Ariba,
                                                                     Inc.; SAP America, Inc. regarding
                                                                     related disclosure.

Symantec Corporation                   Contract Counterparties   •   Symantec Corporation is now a former
                                                                     client (closed 2016); and
                                                                 •   The individual previously disclosed as
                                                                     a current client and employee of


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                                                                       Symantec Corporation, is now a
                                                                       former client (closed 2015).

Symphony Asset Management                  Bondholders             •   Magnequench International, Inc., an
                                           and                         entity of which Teachers Insurance
                                           Lenders                     and Annuity Association of America is
                                                                       a stockholder, is now a former client
                                                                       (closed 2015).

T-Mobile                                   Landlords and Tenants   •   Related entity Audit Committee of the
                                                                       Board of Directors of T-Mobile US,
                                                                       Inc. (opened 2016) and affiliate
                                                                       company T-Mobile Polska S.A.
                                                                       (opened 2015) are new clients;
                                                                   •   Euro 5, an entity of which parent
                                                                       company and current client Deutsche
                                                                       Telekom AG is a member, is now a
                                                                       former client (closed 2016); and
                                                                   •   Scout24 Holding GmbH, an entity of
                                                                       which parent company Deutsche
                                                                       Telekom AG is a stockholder, is now a
                                                                       former client (closed 2016).

TCW Crescent Mezzanine Partners IVB,       Lenders                 •   The TCW Group, Inc. and affiliated
  L.P.                                                                 entities Crescent Senior Secured
TCW Crescent Mezzanine Partners IV, L.P.                               Floating Rate Loan Fund LLC
                                                                       (f/k/a TCW Senior Secured Floating
                                                                       Rate Loan Fund, L.P.), Crescent
                                                                       Senior Secured Floating Rate Loan
                                                                       Fund LLC (f/k/a TCW Senior Secured
                                                                       Floating Rate Loan Fund, L.P.), TCW
                                                                       High Income Partners Ltd. and TCW
                                                                       Crescent Mezzanine Partners II, L.P.
                                                                       are co-clients in a new matter (opened
                                                                       2015); and
                                                                   •   Magnequench International, Inc., an
                                                                       entity of which affiliated entities
                                                                       current client TCW Crescent
                                                                       Mezzanine Partners II, L.P.,
                                                                       TCW/Crescent Mezzanine Trust II,
                                                                       TCW Shared Opportunity Fund II,
                                                                       L.P., TCW Shared Opportunity Fund
                                                                       III, L.P. and TCW Leveraged Income
                                                                       Trust II, L.P. are stockholders, is now
                                                                       a former client (closed 2015).




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Teleperformance USA                        Significant Unsecured    •   Affiliate company Teleperformance
                                           Creditors                    Australia Pty Ltd. is a new client
                                                                        (opened 2015).

TPG Capital, L.P.                          Portfolio Parents        •   McCarthy & Stone Limited, an entity
                                                                        of which affiliate company TPG
                                                                        Opportunities Management, L.P. is a
                                                                        stockholder, is now a former client
                                                                        (closed 2015);
                                                                    •   Lundy, L.P., an entity in which
                                                                        affiliate company TPG Lundyco, L.P.
                                                                        is a limited partner, is now a former
                                                                        client (closed 2016);
                                                                    •   Subsequent to Jones Day's prior
                                                                        disclosure, affiliate company TPG
                                                                        Opportunities Partners, L.P. was a
                                                                        current and now former co-client with
                                                                        current client Goldman Sachs
                                                                        Internationalk in a matter concluded
                                                                        in 2015; and
                                                                    •   In its prior disclosure, Jones Day
                                                                        inadvertently did not include:
                                                                        (a) current client and affiliate company
                                                                        Cushman & Wakefield K.K.; and
                                                                        (b)TPG/CALSTRS LLC, a former
                                                                        client (closed 2014) and joint venture
                                                                        between former client Thomas
                                                                        Properties Group, Inc. (closed 2014)
                                                                        and the California State Teachers'
                                                                        Retirement System.

Trilogy Portfolio Co. LLC                  Significant Litigation   •   In its prior disclosure Jones Day
                                           Counterparties               inadvertently did not include affiliate
                                                                        company Trilogy Global Advisors,
                                                                        L.P. (closed 2014); and
                                                                    •   Affiliate company Trilogy Capital
                                                                        LLC is now a former client
                                                                        (closed 2015).

UBS AG                                     Bondholders              •   UBS AG is a current or former
UBS O'Connor                               and                          significant equity holder of current
                                           Lenders                      client Molycorp, Inc.; and an
                                                                        interested party in the Molycorp, Inc.,
                                                                        et al. chapter 11 cases (commenced
UBS Financial Services, Inc.               Bondholders                  in 2015), in which Jones Day is
UBS Securities LLC


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USB Securities LLC (US)                                            debtors' counsel; and
                                                               •   Affiliate company UBS Securities
UBS AG Stamford Branch                     Lenders
                                                                   India Private Limited is: (a) a former
                                                                   co-client with current client Axis
                                                                   Capital Limited in a matter concluded
                                                                   in 2016; (b) a former co-client with
                                                                   former client Daiwa Corporate
                                                                   Investment Co. Ltd. (closed 2015) in a
                                                                   matter concluded in 2015; and
                                                                   (c) a former co-client with current
                                                                   client Kotak Mahindra Capital Co.,
                                                                   Ltd. in a matter concluded in 2014.

United Parcel Service, Inc. (UPS)          Rule 2002 Parties   •   United Parcel Service, Inc. (UPS) is a
                                                                   new client (re-opened 2015).

The Vanguard Group, Inc.                   Bondholders         •   The Vanguard Group, Inc. is an
Vanguard Marketing Corporation                                     equity holder of new client Peabody
                                                                   Energy (opened 2015); and
                                                               •   Affiliate companies Vanguard AG
                                                                   and Vanguard Wealth Group Limited
                                                                   are new clients (both opened 2016).

VII Peaks – KBR LLC                        Bondholders         •   Affiliate companies VII Peaks Co-
                                                                   Optivist Income BDC II, Inc., VII
                                                                   Peaks-R Holdings, Inc., VII Peaks
                                                                   Capital FBO Marquette and VII Peaks
                                                                   Capital FBO are equity security
                                                                   holders of new client Relativity Media
                                                                   LLC.

Virtus Partners LLC                        Bondholders         •   Affiliated entities Virtus Alternative
                                           and                     Inflation Solution Fund and Virtus
                                           Lenders                 Alternative Total Solution Fund are
                                                                   former lenders and noteholders
                                                                   (as of 2/29/2016) and co-clients in a
Virtus Balanced Fund                       Lenders                 new matter (opened 2016).
Virtus Bond Fund
Virtus Global Multi-Sector Income Fund
Virtus High Yield Fund
Virtus Multi-Sector Intermediate Bond
    Fund
Virtus Multi-Sector Short Term Bond Fund
Virtus Senior Floating Rate Fund
Virtus Strategic Income Fund
Virtus Tactical Allocation Fund
Virtus Total Return Fund
Virtus Variable Insurance Trust – Virtus

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    Multi-Sector Fixed Income Series
    (VVIT)

Visa, Inc.                                Significant Unsecured   •   Affiliate companies Visa Information
                                          Creditors                   Systems (Shanghai) Co. Ltd. and Visa
                                                                      Worldwide Pte. Ltd. are new clients
                                                                      (both opened 2015).

Wellington Management Co. LLP             Bondholders             •   Affiliate company Wellington
                                          and                         Management Hong Kong Limited is a
                                          Lenders                     new client (opened 2015).

Wellington 46Y9 Hartford Total Return     Lenders
   Bond HLS Fund
Wellington Management Portfolios
   (Luxembourg) IV SICAV FIS
Wellington Trust Co., N.A. Multiple
   Collective Investment
Wellington Trust Co., N.A. Multiple
   Collective Investment Funds Trust
Wellington Trust Co., N.A. Multiple
   Collective Investment Funds Trust II
Wellington Trust Co., N.A. Multiple
   Common Trust
Wellington Trust Co., N.A. Multiple CTF
   Trust – Core Bond

Wells Capital Management                  Bondholders             •   Wells Capital Management
Wells Fargo Bank, N.A.                    and                         (d/b/a Wells & Company Master
                                                                      Pension Trust), parent company Wells
                                          Lenders
                                                                      Fargo & Company and affiliated
                                                                      entities Evergreen Core Plus Bond
                                                                      Fund (Wells Fargo Advantage
                                                                      Income Funds: Income Plus Fund),
                                                                      Evergreen Income Advantage Fund
                                                                      (Wells Fargo Advantage Income
                                                                      Opportunities Fund), Evergreen
                                                                      Multi Sector Income Fund (Wells
                                                                      Fargo Advantage Multi-Sector
                                                                      Income Fund) and Evergreen Utilities
                                                                      & High Income Fund (Wells Fargo
                                                                      Advantage Utilities & High Income
                                                                      Fund) are co-clients in a new matter
                                                                      (opened 2015);
                                                                  •   Affiliate company and current client
                                                                      Wells Fargo Bank, National
                                                                      Association is a stockholder of new
                                                                      client Shanghai Commercial Bank

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                                                                         Limited (opened 2016);
                                                                     •   Affiliate company Wells Fargo
                                                                         Advantage Alternative Strategies
                                                                         Fund is a co-client in a new matter
                                                                         (opened 2016); and
                                                                     •   Affiliate companies Wells Fargo Bank
                                                                         International and Wells Fargo Trust
                                                                         Corporation Limited are now former
                                                                         client (both closed 2015).

Western Asset Management Company           Bondholders               •   Western Asset Management
                                           and                           Company and Western Asset Floating
                                           Lenders                       Rate High Income Fund LLC are co-
                                                                         clients in a new matter (opened 2015).
Western Asset Bank Loan (Multi Currency)   Lenders
   Master Fund
Western Asset Bank Loan (Offshore) Fund
Western Asset Floating Rate High Income
   Fund LLC

Wilmington Trust, National Association     Member of Official        •   Wilmington Trust, National
                                           Committee of Unsecured        Association (opened 2016); and
                                           Creditors                     affiliate companies Wilmington Trust
                                                                         SP Services (Frankfurt) GmbH
                                                                         (opened 2016) and Wilmington Trust
                                                                         SP Services (Amsterdam) B.V.
                                                                         (opened 2015) are new clients.

Zurich American Insurance Company          Contract Counterparties   •   Affiliate company Zurich Mexico is
                                           and                           now a former client (closed 2016).
                                           Issuer of Letters of
                                           Credit




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